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                EXHIBIT 18
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previously—that your production of documents will be complete at least by Tuesday, January 9,
in time for us to review in advance of that deposition.

BioNTech’s Prejudicial Conduct

        We have explained via email that BioNTech’s conduct during the fact deposition period
has been prejudicial and exceptional. See 12/22/23 Email from Curtis; 1/3/24 Email from Curtis.
As we explained, BioNTech responded to Moderna’s Rule 30(b)(6) notice by unreasonably
refusing to provide a witness without meeting and conferring on more than 50 topics, required
hours of meeting and conferring and several rounds of correspondence, inadequately prepared its
witnesses on a number of topics, delayed designating witnesses for weeks until after the close of
fact discovery only to add a new witness and designate a large number of topics on several
remaining witnesses. As we reiterated during today’s meet and confer, we expect to complete all
remaining depositions in the time we have remaining, but we continue to reserve the right to seek
additional time based on BioNTech’s conduct to date and in view of any dilatory conduct during
the remaining depositions.

Moderna’s Production and Preparation of Witnesses

         Although we did not discuss the issue of Moderna’s document production and preparation
of its witnesses, we respond here to the issues raised in your January 4, 2024 letter. In Defendants’
letter, Defendants raised baseless claims that Drs. Hoge                 were not prepared to testify
on certain topics and that Moderna did not produce documents it had agreed to produce. As we
have explained, Moderna never agreed to produce contracts with contract manufacturing
organizations (“CMOs”) or customers. Your citation to certain RFP responses demonstrates this.
Moderna agreed to produce in response to RFP Nos. 111, 118, 119, and 125, 2 respectively,
documents showing Moderna’s profit margin for Spikevax® from March 1, 2022, documents
showing the total quantity of Spikevax® manufactured or sold, or forecasted to be manufactured
or sold, documents showing the supply chain involved in the manufacture and production of
Spikevax®, and documents showing Moderna’s forecasts of future sales of Spikevax®. Moderna
did produce such documents, but it was not required to produce CMO contracts as documents
showing those facts. Defendants have had Moderna’s responses since March 2023 and a
substantially complete document production since before depositions took place, yet never raised
a complaint. In any event, with respect to manufacturing capacity,                    provided ample
testimony on Moderna’s ability to meet demand.



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  Your letter also refers to RFP No. 126, but Moderna did not agree to produce documents in
response to that RFP in view of its overbreadth, irrelevance, and vagueness, among other
objections. Defendants did not raise any complaints about this response.
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        With respect to communications on Moderna’s patent pledge, as explained in my
December 29, 2023 letter, Dr. Hoge did in fact testify about Moderna’s communications to
investors, see Hoge Tr. at 171-172, and his testimony is consistent with the timely-produced
communications and interrogatory response served on Defendants. The portions of Dr. Hoge’s
deposition transcript cited by Defendants are not to the contrary. Indeed, Dr. Hoge explained
during his deposition (Hoge Tr. at 176-177) that the pledge was sometimes a topic of
conversations—not written correspondence—with governments, and Dr. Hoge described those
conversions. And Dr. Hoge subsequently confirmed that he did not instruct anyone to search for
emails on the pledge with Ray Jordan, an individual who was not identified as an ESI custodian in
this matter. See Hoge Tr. at 180. Further, between the pages Defendants cite, Dr. Hoge offered
additional testimony on his own conversations with third parties about the patent pledge,
explaining for example that he spoke to reporters about it when asked about public health and other
topics. See Hoge Tr. at 178. The record is clear that Defendants had opportunity to ask Dr. Hoge
about Moderna’s patent pledge and Dr. Hoge gave ample testimony on that topic.

        Finally, your suggestion that Dr. Hoge was required to review communications between
Moderna and Cellscript again relies on a number of unsupported assumptions. Your letter assumes
that such communications exist or that they were within the ambit of what the parties agreed to
search for and produce. However, such communications may not be subject to any production
requirement because they do not exist, do not fall within the scope of the agreed-to ESI limitations,
or were not subject to production pursuant to the parties’ agreement to not produce negotiation
documents. Even if any such documents did exist, Dr. Hoge was not required to review them in
advance of his deposition in order to provide testimony on the topics on which he was designated.
Further, Dr. Hoge testified that he did in fact review communications with Cellscript during his
preparation. See Hoge Tr. at 72-73. Defendants chose not to ask any follow-up questions about
that communication, and in any event, did not ask questions about any other interactions between
Moderna and Cellscript. Indeed, Dr. Hoge began at one point to describe a communication with
                                                                                               , and
counsel for BioNTech cut Dr. Hoge off and did not allow him to finish his answer. See Hoge Tr.
at 332.

Moderna’s Privilege Claims for MOD 000332132 and MOD 000282515

        During the meet and confer, Defendants requested additional information regarding
Moderna’s bases for its privilege claims concerning two documents in Moderna’s production:
MOD_000332132 and MOD_000282515. Although Moderna has already provided a description
of the bases for which these documents have been designated privileged in prior correspondence
(see, e.g., 2024.01.03 Letter from A. Curtis; 2023.12.21 Email from J. Salvatore), Moderna
provides the following additional information.
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/s/ Annaleigh E. Curtis


Annaleigh E. Curtis
